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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE WESTERN DISTRICT OF NEW YORK

JAMES B. CLARKE                         )
                  Plaintiff,            )             CIVIL ACTION NO.
                                        )             6:21-CV-06497
            v.                          )
                                        )
L3HARRIS TECHNOLOGIES, INC.             )             COMPLA I NT
                                        )
                  Defendant.            )             JURY TRIAL DEMAND
                                        )
_______________________________________ )



                                 NATURE OF THE ACTION


On behalf of Plaintiff JAMES B. CLARKE, (referred to hereinafter as “Plaintiff” or “James

Clarke”), for his complaint against L3Harris Technologies, Inc. (referred to hereinafter as

“Defendant” or “Employer” or “L3Harris”) states and alleges as follows:

                                    Jurisdiction and Venue

       1.      This action is authorized and instituted pursuant to the Age Discrimination in

Employment Act of 1967 (“ADEA”), and 29 U.S.C. § 621, et seq. as well as Title VII of the

Civil Rights Act of 1964, as amended.

       2.      This Court has original jurisdiction over this action, and each count, pursuant to

28 U.S.C. § 1331.

       3.      Venue of this action in the United States District Court for the Western District of

New York is proper pursuant to 28 U.S.C. § 1391(b) because the Plaintiff was employed and

subjected to employment discrimination by Defendant in Rochester, NY, and in Monroe County,




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New York, within the Western District of New York, and a substantial part of the events giving

rise to these claims, occurred in said locale.

          4.   All conditions precedent to the filing of this lawsuit have been met. Plaintiff

timely filed two charges of discrimination with the New York State Division of Human Rights,

(“NYSDHR”) Case Numbers 10209177 and10210269, both of which were dual-filed with the

United States Equal Employment Opportunity Commission, (“EEOC”) with Federal Charge

Numbers as follows: 16GC003871 and 16GC100610; the first charge alleging age discrimination

and second alleging retaliation.

          5.   Plaintiff files the instant Complaint within 90 days from his receipt of the “Right

To Sue” Letters the first of which is dated April 28, 2021 and the second dated June 10, 2021.

(See Right To Sue Letters, attached hereto as Exhibit “A” and “B”).

          6.   The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Western District of New York, Rochester

Division.

          7.   The employment practices complained of herein were intentional and malicious in

nature.

                                             PARTIES

          8.   Plaintiff, James Clarke is a male resident of Rochester, New York in Monroe

County, and was at all relevant times hereto, an employee of Defendant L3 Harris, at

Defendant’s facility located in Rochester, New York, during which he was over the age of 40 at

all times relevant hereto.

          9.   Defendant, L3Harris Technologies, Inc. is an international aerospace,

communications and information technology company, serving government and commercial




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customers globally, with its Communications Systems business segment headquartered in

Rochester, NY, where it employed Plaintiff at times relevant to this Complaint.

       10.     Defendant conducted its business in Rochester, in the State of New York, where

it was operating within the jurisdiction of the Western District of New York, and where it has

continuously had at least 15 employees and in which Defendant has continuously been an

employer engaged in an industry affecting commerce.

                                     STATEMENT OF CLAIMS

       11.     All conditions precedent to the institution of this lawsuit have been fulfilled.

       12.     Defendant has engaged in unlawful employment practices in violation of the Age

Discrimination in Employment Act of 1967 (“ADEA”) insofar as he was mistreated and

subjected to adverse employment action during his employment with L3Harris under

circumstances which strongly and directly infer age discrimination in violation of the ADEA.

       13.     More specifically, Plaintiff was discriminated against on the basis of age (Plaintiff

was born in 1963) beginning on the very day he commenced working for L3Harris as a

“Manufacturing Technician C”, which was November 11, 2018.

       14.     Defendant refused to provide Plaintiff with the necessary equipment to conduct

testing of power amplifiers despite that he was required to conduct said testing and

notwithstanding that the younger counterparts who were similarly situated were provided the

necessary and proper equipment to do their jobs.

       15.     Defendant subjected Plaintiff to what he describes as “road blocks to success”

which hindered his progress and performance from the start of his career at L3Harris.

       16.     As another example of “road blocks to success”, Defendant, by and through

employees of L3Harris, refused to provide Plaintiff with what are called “Soldering Certificates”




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so that he could move his work product in a timely manner, while all other similarly situated

Technicians, all of whom were younger than Plaintiff – were provided with said Certificates such

that they were not impeded from having their work product processed in a timely manner.

        17.    While younger Techs were routinely able to assemble their work for testing, from

the start of his career until June of 2020, Defendant, usually through Mike Shanley, Plaintiff’s

Department Supervisor - intentionally deprived Plaintiff of the necessary tools to assemble his

work to production specification – despite repeatedly asking Rick Prest of Human Resources for

said tools.

        18.    Despite having intentionally deprived Plaintiff of the tools necessary to do his

work in a timely manner, Defendant disciplined Plaintiff via “Reprimand” for the additional time

it took him to assemble his work product in a ruse designed to make Plaintiff – an older

employee over the age of 40 – appear to be inept and unable to successfully do his job.

        19.    Notably, Plaintiff complained about each of the above roadblocks to Brian

McNamara, Supervisor of Human Resources – to no avail inasmuch as the roadblocks continued

to be put in Plaintiff’s path in a clearly intentional effort on the part of Defendant, by and

through Shanley – to sabotage Plaintiff’s success at L3Harris.

        20.    Defendant sabotaged Plaintiff’s ability to assemble his work product in a timely

manner insofar as Plaintiff’s inability to properly test his work-product before moving on to the

next assembly-related task was delayed by Defendant’s interference in Plaintiff’s work.

        21.    Defendant did not interfere with the ability of younger techs to properly test their

work product and assembly repairs thus allowing an obvious advantage over Plaintiff.

        22.    Making matters worse, not only did Defendant impede Plaintiff’s ability to test

his work-product and repairs, but it blamed Plaintiff by unfairly alleging he failed to adequately




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“troubleshoot” thus subjecting him to yet more adverse employment action.

         23.    Approximately 90 days prior to his termination from employment, Plaintiff was

placed on a “Performance Improvement Plan” (“PIP”) by Defendant for the foregoing incidents,

despite having done what he was hired to do in as competent a manner as he could, with the tools

he was provided.

         24.    At meetings with Human Resources to discuss Plaintiff’s progress with his PIP,

Plaintiff would routinely complain about the disparate treatment he was experiencing as

compared to the more favorable treatment of his younger counterparts; to no avail; Defendant

shifted the blame to Plaintiff for delays with testing and with the timeliness of his production

time.

         25.    Defendant told Plaintiff at the foregoing HR meetings that he was “making

excuses” when he informed Defendant that he lacked the necessary tools to do his job.

         26.    Defendant blamed Plaintiff for production delays in a manner so disingenuous as

to strongly infer intent since Defendant was making it literally impossible for Plaintiff to do his

job by, for example, refusing to give him the tools necessary to do his job.

         27.    In about May of 2019, Plaintiff was assigned to help in “Pioneer Focus Factory”

on a product, during which he had no issues with performing his duties, and for a time, was not

impeded from doing his job, and was therefore able to successfully perform his tasks.

         28.    In September of 2019, Defendant assigned Plaintiff to “Vigilance”, another work

area, during which Defendant began to manufacture bogus performance allegations against

Plaintiff in a continued attempt to create a disciplinary paper trail on Plaintiff.

         29.    In or about May of 2020, Plaintiff filed an Ethics Complaint against Defendant

complaining about – on information and belief - the foregoing examples of disparate treatment,




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unfair discipline and targeting of his performance.

       30.     Despite full cooperation from Plaintiff during the Ethics “Investigation”, during

which he provided documentation to back up his claims of disparate treatment, a couple of

months after filing, the Investigation resulted in Plaintiff’s claims being “unverified”.

       31.     Two weeks after the end of the Ethics Investigation, in which Plaintiff had

complained – on information and belief - about unequal and discriminatory treatment, is when

Defendant put Plaintiff on his PIP, suggesting that the PIP was retaliatory in nature.

       32.     There was temporal proximity between Plaintiff’s Ethics Complaint and the PIP

Defendant put Plaintiff on, suggesting a correlation between Plaintiff’s complaints of

discrimination in the workplace and Defendant’s disciplining Plaintiff.

       33.     Defendant informed Plaintiff at the time the PIP was handed down that Plaintiff

would be fired at the end of the PIP if he did not make progress.

       34.     Following being placed on a PIP, Defendant made Plaintiff record his production

numbers on an Excel Spreadsheet despite that Plaintiff’s younger counterparts were not required

to do so.

       35.     Despite performing to the best of his ability and competently during his PIP,

Defendant continued to demean Plaintiff’s work and to blame him for failures that were not his

fault; strongly suggesting that Plaintiff had no control over his fate at L3Harris and that his

termination was preconceived following the PIP.

       36.     It was literally impossible for Plaintiff to satisfy the strictures of the PIP.

       37.     Plaintiff filed his first Complaint of Discrimination and Retaliation against

Defendant in the NYSDHR on or about September 8 of 2020.

       38.     Defendant then retaliated against Plaintiff again.




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        39.    More specifically, on or about September 22, 2020, at approximately 10 AM,

Barbara Paige, who is a tester of equipment that C Technicians like Plaintiff have repaired, was

throwing Heat Sinks on Plaintiff’s work bench in an intimidating manner.

        40.    She would routinely make unsolicited written comments about Plaintiff’s work

such as “do you even know what you are doing?” as she was testing Plaintiff’s work.

        41.    Barbara Paige would make these comments in a computer database of repairs on

the Heat Sinks made by C Techs for all to see, and the rest of the company had access to these

comments as did customers.

        42.    Said negative comments were inappropriate not to mention unfair and

unwarranted.

        43.    Barbara Paige and Mike Shanley seemed to have a close personal relationship

insofar as Shanley would routinely refer to Paige in the workplace someone who was “like a

girlfriend”.

        44.    Rick Prest and Barbara Paige were working together insofar as, on information

and belief, Barbara Paige’s negative comments about Plaintiff’s work was done while logged

into Rick Prest’s account.

        45.    Rick Prest was known to tell Technicians that he had “spies” on the

manufacturing floor, and it was widely known that Paige was one such “spy”.

        46.    Working together, Prest and Paige sabotaged Plaintiff ability to satisfy his PIP

with the negative comments on the database since said comments had a direct effect on

Plaintiff’s PIP performance.

        47.    Defendant – by and through Prest and Paige - retaliatorily sabotaged Plaintiff’s

ability to perform well, and to impede his ability to reach his performance goals set forth in his




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PIP in a manner set forth above and as to be proven at or before trial.

       48.     On September 29, 2020, Barb Paige castigated Plaintiff – purportedly because of

the quality of his work on a Heat Sink he was repairing, when in reality his repair work was

beyond reproach.

       49.     Barb Paige used this allegation of poor work quality on the Heat Sink as a set up

and proceeded to conspire with Mike Shanley, the HR Supervisor to make it a time-consuming

issue which put Plaintiff behind in his efforts to keep up with the production quotas that had been

created for him in the PIP, putting the milestones further out of reach and making it more likely

that he would be fired.

       50.     On or about October 10, 2020, Barb Paige once again impeded Plaintiff’s efforts

to meet the requirements of his PIP when she called Mike Shanley down to the work area where

Plaintiff had been repairing Heat Sinks, and proceeded to waste yet more time accusing Plaintiff

of poor work quality when in fact she was incorrect, and that Plaintiff had properly diagnosed the

problem with the Heat Sink at issue; however, the incident caused yet additional delays and

made it literally impossible for Plaintiff to meet the production requirements of the PIP.

       51.     It is notable that during the foregoing incident on October 10, 2020, a fellow tech

named “Nick” audibly confirmed that in fact Plaintiff had done nothing incorrect with respect to

the repair of the Heat Sink in question, thus validating Plaintiff’s assumption that he was being

“set up to fail” in retaliation for having filed an Ethics Complaint and in retaliation for having

filed a Complaint of age discrimination in the NYSDHR only about a month earlier.

       52.     Predictably, Defendant fired Plaintiff on or about December 2, 2020.

       53.     In addition to discriminating against Defendant on the basis of his age, and to

retaliating against Plaintiff for engaging in lawful opposition to discrimination in the workplace,




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Defendant also created a hostile work environment by manufacturing repeated false allegations

against Plaintiff within the workplace, and by pitting other employees against plaintiff, and by

repeatedly and pervasively cursing out and yelling at Plaintiff about his workmanship and by

micromanaging his every move at his job in a manner that made it literally impossible to thrive

or to meet the requirements of his PIP.

       54.      The unlawful employment practices complained of above were intentional and

malicious.

       55.     The anxiety, stress and emotional distress that resulted from the foregoing

discrimination and retaliation and hostile work environment persists to the date of the instant

Complaint.

       56.     The unlawful employment practices complained of herein above were intentional,

and malicious in nature for which L3Harris should be forced to pay damages as well as punitive

damages to Plaintiff in an amount to be determined for the emotional trauma suffered.

       57.     The unlawful employment practices complained of herein above were done with

malice or with reckless indifference to the federally protected rights of Plaintiff, who was harassed,

and discriminated against due to his age and who was retaliated against for lawfully opposing

discrimination in the workplace.

       58.     The present Complaint shall have been filed in the Federal District Court, Western

District of New York, fewer than 90 days after receiving the two Right To Sue letters from the

Equal Employment Opportunity Commission.

       59.     As a direct and proximate result of Defendant’s discrimination, retaliation and

harassment against Plaintiff, and notwithstanding Plaintiff’s duty to attempt in good faith to

mitigate his damages, Plaintiff has suffered damages in an amount to be determined at trial,




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including, but not limited to, significant lost wages and future wages, lost value of fringe

benefits, and other forms of compensation, as well as the loss of a career with L3Harris, in

amounts yet to be determined, but which exceed the minimum amount required to be in

controversy within the present court.

       Count I. Age Discrimination in violation of ADEA.

       Defendant discriminated against Plaintiff in violation of the Age Discrimination in

Employment Act of 1967 (“ADEA”) when it subjected Plaintiff to adverse employment action

because of his age, for which Plaintiff is entitled to monetary relief.

       Count II. Age Discrimination in violation of NYS Human Rights Law.

       Defendant discriminated against Plaintiff in violation of N.Y. Exec. Law, art. 15 (Human

Rights law) when it subjected Plaintiff to adverse employment action because of his age, for

which Plaintiff is entitled to monetary relief.

       Count III. Retaliation in violation of NYS Human Rights Law.

       Defendant retaliated unlawfully against Plaintiff in violation of N.Y. Exec. Law, art. 15

(Human Rights law) when it fired Plaintiff for opposing age discrimination and harassment in the

workplace for which Plaintiff is entitled to monetary relief.

       Count IV. Retaliation in violation of ADEA.

       Defendant retaliated unlawfully against Plaintiff in violation of the ADEA when it fired

Plaintiff for opposing age discrimination and harassment in the workplace for which Plaintiff is

entitled to monetary relief.

       Count V, VI and VII. Hostile Work Environment.

       Defendant created a hostile work environment in violation of N.Y. Exec. Law, art. 15

(Human Rights law), Title VII of the Civil Rights Act of 1964 and the ADEA when it condoned




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pervasive and outrageous harassment in the workplace based on Plaintiff’s age and in retaliation

for lawfully opposing discrimination, for which Plaintiff is entitled to monetary relief.

                                        PRAYER FOR RELIEF

       Wherefore, the Plaintiff respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendant Employer, its officers, agents,

servants, employees, attorneys, and all persons in active concert or participation with it, from

mistreating, or terminating qualified individuals from employment due to age.

       B.      Order Defendant Employer to institute and carry out policies, practices, and

programs which provide equal employment opportunities to all employees, and which protect

employees from unlawful age discrimination or retaliation.

       C.      Order Defendant Employer to make whole James Clarke by providing appropriate

back pay, with prejudgment interest, in amounts to be determined at trial, and other affirmative

relief necessary to eradicate the effects of its unlawful employment practices.

       D.      Order Defendant Employer to make whole James Clarke by providing

compensation for past and future pecuniary losses resulting from the unlawful employment

practices described herein-above, in amounts to be determined at trial.

       E.      Order Defendant Employer to make whole James Clarke by providing

compensation for past and future nonpecuniary losses resulting from the unlawful practices,

including the harassment and discrimination complained of herein-above, which caused

emotional pain, suffering, inconvenience, loss of enjoyment of life, and humiliation, in amounts

to be determined at trial.

       F.      Order Defendant Employer to pay punitive damages so as to punish Defendant for

its malicious and intentional acts as outlined in the foregoing Complaint.




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        G.     Grant such further relief as the Court deems necessary and proper in the public

interest.

                                         JURY TRIAL DEMAND

        The Plaintiff requests a jury trial on all questions of fact raised by its complaint.

                                                       Respectfully Submitted,

                                                       S:// James D. Hartt
                                                       JAMES D. HARTT, ESQ.,
                                                       Attorney For Plaintiff-Admitted to
                                                       Practice in WDNY Federal Court
                                                       6 N. Main Street, Suite 200-F
                                                        Fairport, NY 14450
                                                       Telephone: (585) 490-7100
                                                        Fax: (716) 299-2006
ORIGINAL of the foregoing was
filed this 26th Day of July with:
The Clerk of the Federal District Court
Western District New York District, Rochester Division




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